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                                         #:61



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14                             UNITED STATES DISTRICT COURT
15                            CENTRAL DISTRICT OF CALIFORNIA

16   LUIS VILLEGAS,                                ) Case No.: 2:18-CV-00434-DDP-FFM
                                                   )
17           Plaintiff,                            ) JOINT NOTICE OF SETTLEMENT
     v.                                            )
18                                                 )
     EUNSIL J. OH; GAMESTOP, INC., a               )
19   Minnesota Corporation; and Does 1-10,         )
             Defendants.                           )
20                                                 )
                                                   )
21                                                 )
                                                   )
22
23         The Parties hereby jointly notify the court that a global settlement has been
24   reached in the above-captioned case and the parties would like to avoid any additional
25   expense, and further the interests of judicial economy.
26         All Parties, therefore, apply to this Honorable Court to vacate all currently set
27   dates with the expectation that the Joint Stipulation for Dismissal with prejudice as to all
28   parties will be filed within 60 days. The Parties further request that the Court schedule a


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1    Status Conference/OSC Hearing approximately 60 days out at which the Parties, by and
2    through their attorneys of record shall show cause why this case has not been dismissed.
3
4    Dated: January 25, 2019         CENTER FOR DISABILITY ACCESS
5
6                                    By:   /s/ Chris Carson
7                                          Chris Carson
8                                          Attorneys for Plaintiff

9
     Dated: January 25, 2019         HAIGHT BROWN & BONESTEEL LLP
10
11
                                     By:   /s/ Keith Rozanski
12                                         Keith Rozanski
13                                         Attorneys for Defendant
                                           Gamestop, Inc.
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     Joint Notice of Settlement                 -2-               2:18-CV-00434-DDP-FFM
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1                                 SIGNATURE CERTIFICATION
2
3    I hereby certify that the content of this document is acceptable to Keith Rozanski,
4    counsel for Gamestop, Inc., and that I have obtained authorization to affix his electronic
5    signature to this document.
6
7    Dated: January 25, 2019          CENTER FOR DISABILITY ACCESS
8
9                                     By:   /s/ Chris Carson
                                            Chris Carson
10                                          Attorneys for Plaintiff
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     Joint Notice of Settlement                  -3-               2:18-CV-00434-DDP-FFM
